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		OSCN Found Document:IN RE INTERPRETER FEES

					

				
  



				
					
					
						
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				IN RE INTERPRETER FEES2021 OK 42Decided: 09/13/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 42, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

&nbsp;



&nbsp;



ORDER



Pursuant to the provisions of 63 O.S.2011, § 2415 and 20 O.S.2011, § 1707(A) and the administrative authority vested in the Court by Article VII, Section 6 of the Oklahoma Constitution, Administrative Directive No. SCAD-2020-113 relating to the payment of foreign language interpreters and interpreters for the deaf and hard-of-hearing is hereby superseded. The provisions of this directive shall become effective October 1, 2021.

1. Order of Preference. When securing an interpreter provided at the expense of the court, judges and court clerks shall follow the order of preference set forth in 20 O.S.Supp.2020, § 1710, which states in part:

In district court proceedings, the court shall endeavor to obtain the services of a courtroom interpreter with the highest available level of credential prior to accepting services of an interpreter with lesser credential and skill. Certified courtroom interpreters have the highest recognized level of credential in this state, and registered courtroom interpreters have the next highest level. . . .

2. Hourly Rates -- Foreign Language Interpreters. Spoken-language interpreters provided at the expense of the court shall be paid at the following hourly rates for in court services related to the specific case assignment:

a. Certified Courtroom Interpreters shall be paid not to exceed Eighty Dollars ($80.00) per hour.

b. Registered Courtroom Interpreters shall be paid not to exceed Sixty Five Dollars ($65.00) per hour.

c. Provisional Status Interpreters shall be paid not to exceed Fifty Dollars ($50.00) per hour.

d. All other spoken language interpreters may be paid not to exceed Forty Dollars ($40.00) per hour. Nothing herein is intended to require the court fund to pay a bilingual person who performs incidental interpretation in a particular matter, such as a friend or family member of a party. No mileage shall be paid for interpreters in this category.

3. Hourly Rates -- Sign Language Interpreters. Sign Language Interpreters provided at the expense of the court shall be paid at the following hourly rates:

a. Certified Sign Language Interpreters shall be paid not to exceed Eighty Dollars ($80.00) per hour. A "Certified Sign Language Interpreter" is defined in Rule 12(a) of the Rules of the State Board of Examiners of Certified Courtroom Interpreters, 20 O.S.Supp.2020, ch. 23, app. II.

b. All other Qualified Legal Interpreters shall be paid not to exceed Sixty Dollars ($60.00) per hour. A "Qualified Legal Interpreter" for the deaf and hard-of-hearing is defined in 63 O.S.2011, § 2408(2).

c. To the extent a court--in keeping with 20 O.S.Supp.2020, § 1710 and Rule 12(f)(2) of the Rules of the State Board of Examiners of Certified Courtroom Interpreters--finds good cause not to use a Certified Sign Language Interpreter or a Qualified Legal Interpreter because it would not be practical to secure their services within a reasonable time frame and then utilizes some other sign language interpreter, such sign language interpreter may not be paid for services rendered or for mileage out of the court fund.

4. Billable Time. 

a. Certified and Registered Courtroom Interpreters, and Certified Sign Language Interpreters, shall be paid a minimum of two hours per day for court interpreting services in a district court. After the first two hours of billable time, services should be invoiced and paid at the appropriate hourly rate in 15-minute increments, rounded to the nearest quarter hour.

b. Interpreters who are not Certified or Registered are not entitled to the two-hour minimum unless the judge specifically authorizes otherwise for good cause (such as assignments requiring significant travel or rare languages).

c. Billable time includes all time during which the interpreter is required to be present in the courthouse and available to interpret, as well as time spent actually interpreting.

d. Double billing on multiple cases is prohibited. The two-hour minimum may be invoiced and paid only once per day in the same district courthouse, regardless of the number of cases covered by the interpreter. Billable time beyond the two-hour minimum shall not total more than the actual time spent providing professional services in any district courthouse, covering one or more cases.

e. Except for trial proceedings, billable time shall not exceed 8 hours per court day.

f. Interpreters appearing remotely via telephone or video may be paid a one-hour minimum, unless the judge specifically authorizes otherwise for good cause (such as assignments requiring rare languages). After the first hour of billable time, services should be invoiced and paid at the appropriate hourly rate in 15-minute increments, rounded to the nearest quarter hour.

5. Travel Time. Mileage shall be paid pursuant to the State Travel Reimbursement Act, 74 O.S. §§ 500.1 et seq. Interpreters shall not be reimbursed at an hourly rate for travel time.

6. Lodging and Per Diem. For multi-day assignments, an interpreter may be paid for lodging and per diem pursuant to the State Travel Reimbursement Act if the total expense to the court would be equal to or less than daily mileage to and from the assignment location.

7. Cancellation Fee.

a. A cancellation fee in the amount of $100.00 may be invoiced and paid if cancellation of a Certified or Registered Courtroom Interpreter's assignment occurs with less than 24 hours' notice to the interpreter. The fee does not apply to cancellations due to inclement weather or health emergencies.

b. The cancellation fee may not be invoiced and paid more than once per day in the same district courthouse.

c. Interpreters who are not Certified or Registered are not entitled to the cancellation fee. However, a courtesy notice of cancellation of at least four hours is recommended.

d. If cancellation occurs after an interpreter starts traveling to, or appears for, an assignment, the interpreter may request reimbursement for any applicable mileage.

8. Judges' Responsibilities.

a. Judges shall make every effort to arrange their dockets so as to minimize the amount of billable time an interpreter must wait before or between proceedings, and to maximize the use of the interpreter during the first two hours of billable time on as many cases as possible. Judges in the same courthouse should endeavor to coordinate docket scheduling as much as possible to maximize the use of interpreter time.

b. Absent extraordinary circumstances, judges and attorneys serving in a case should not function as foreign or sign-language interpreters in that case. In any such case where a judge or attorney must function as an interpreter, the assigned judge shall make a full record, including any objection by the parties and an explanation of the extraordinary circumstances, for later appellate review.

9. Interpreters' Responsibilities. By accepting assignments in the district courts, interpreters agree to comply with all billing requirements, and shall submit complete and accurate invoices on such forms as may be required. Before submitting an invoice to the court clerk for payment, interpreters shall be responsible for obtaining any judicial approval, and attaching any supporting documentation, including the district court and the case number for each individual for services provided.

10. Exceptions. The Chief Justice may authorize a departure from the hourly rates or other provisions of this SCAD when necessary to meet the language access needs of the courts. The trial judge or court clerk shall obtain authorization in advance from the Chief Justice before accepting interpreter services at rates other than those set forth herein or when services are required for more than 5 consecutive days.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 13TH DAY OF SEPTEMBER, 2021.



/s/Chief Justice

ALL JUSTICES CONCUR.








	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 20. Courts
&nbsp;CiteNameLevel

&nbsp;20 O.S. 1707, Fee Schedule - Expenses of Board MembersCited
&nbsp;20 O.S. 1710, Use of Highest Available Level of Credential - Good CauseDiscussed
Title 63. Public Health and Safety
&nbsp;CiteNameLevel

&nbsp;63 O.S. 2408, DefinitionsCited
&nbsp;63 O.S. 2415, Interpreter's FeesCited
Title 74. State Government
&nbsp;CiteNameLevel

&nbsp;74 O.S. 500.1, Short TitleCited


	
	








				
					
					
				

		
		




	
		
			
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